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                      IN THE UNITED STATES DISCTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

  KALYPSYS, LLC,
                                                    Docket No. ________________________
                        Plaintiff,
                                                                   Civil Action
                        v.

  BLUE LABEL SOLUTIONS, LLC,                                      COMPLAINT

                        Defendant.                        JURY TRIAL DEMANDED


        Plaintiff KALYPSYS, LLC (“Kalypsys” or “Plaintiff”), by and through its undersigned

counsel, WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP, by way of Complaint against the

Defendant, BLUE LABEL SOLUTIONS, LLC d/b/a/ Blue Label Labs (“Blue Label” or

“Defendant”), hereby alleges the following:

                                         THE PARTIES

        1.     Kalypsys is a New Jersey limited liability company having its principal place of

business within the State of New Jersey. Kalypsys is engaged in the business of providing software

solutions in the medical space, including (without limitation) a website and downloadable mobile

applications for booking healthcare appointments.

        2.     Blue Label is a Washington limited liability company that, upon information and

belief, has its principal place of business within the State of Washington. Blue Label is engaged in

the business of software development, which services Blue Label offers to the public.


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                                   JURISDICTION AND VENUE

        3.      This Court has jurisdiction over this civil action pursuant to 28 U.S.C. § 1332(a)(1),

because complete diversity of citizenship exists between Kalypsys (Washington) and Blue Label

(New Jersey); and the amount in controversy is in excess of $75,000. Venue is proper in the District

of New Jersey pursuant to 28 U.S.C. § 1391(a)(2), because this is the district where a substantial

part of the events or omissions giving rise to this Complaint occurred.

        4.      Although this action involves a putative contract that contains a putative arbitration

clause, this Court has jurisdiction over this action because Blue Label fraudulently induced Kalypsys

both to sign the putative contract (see ¶¶ 13-16, infra) and (specifically) to include the putative

arbitration clause in that putative contract (see ¶ 17, infra).

                         THE PROPOSAL AND THE PUTATIVE MSA

        5.      During or about December of 2019, Kalypsys and Blue Label had discussions about

Kalypsys engaging Blue Label to develop for Kalypsys an app that would allow patients to interface

directly with health care providers (the “Project”).

        6.      Pursuant to these discussions, Blue Label prepared for Kalypsys a document entitled

“Service Estimate” (the “Proposal”) that listed the Blue Label staff members who would work on

the Project. Attached to this Complaint as Exhibit A is a true and correct copy of the Proposal.

        7.      The Proposal set forth the estimated time that each Blue Label staff member would

devote to the Project in terms of hours to be worked per month. One of the Proposal’s listed staff

members was the “Quality Assurance Staffer.” The Proposal stated that the Quality Assurance

Staffer would work 160 hours per month for four months.

        8.      The Proposal stated that Blue Label would provide “Security Testing.”

        9.      The Proposal stated that the entire Project would take four months to complete.


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        10.    In multiple discussions between Blue Label and Kalypsys, Blue Label (specifically,

and without limitation, Zach Drew, Stewart Skrondal and Daniel Deserto) stated to the owners of

Kalypsys (Dr. Amr Hosny and Dr. David Chu) that a Quality Assurance Engineer (“QAE”) would

be working on the Project full-time.

        11.    It is the standard practice in the software development industry for a software

developer to provide adequate quality assurance to the kind of project that Blue Label proposed to

develop for Kalypsys, including (without limitation), dedicating a QAE to the Project.

        12.    On or about January 14, 2020, Kalypsys and Blue Label signed a putative contract

bearing the title “Master Services Agreement” (the “Putative MSA”). Attached to this Complaint as

Exhibit B is a true and correct copy of the Putative MSA.

        13.    Kalypsys signed the Putative MSA in direct reliance upon various statements that

Blue Label made to Kalypsys. Such communications included (without limitation) the Proposal

(which stated in writing that a Blue Label QAE would be devoting to the Project 160 hours per

month for four months, and that Blue Label would provide “Security Testing”); and repeated verbal

assurances that there would be a dedicated QAE.

        14.    On information and belief, Blue Label made the foregoing statements to Kalypsys

with the intent of not providing adequate quality assurance and Security Testing to the Project,

including (without limitation), the intent not to dedicate a QAE to the Project.

        15.    Kalypsys would never have signed the Putative MSA if Kalypsys had been aware

that Blue Label never intended to provide adequate quality assurance and Security Testing to the

Project, including (without limitation), the intent not to dedicate a QAE to the Project.




                                                 3

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        16.    Blue Label’s conduct (including, without limitation, Blue Label’s statements

concerning quality assurance, a dedicated QAE and Security Testing, as set forth supra) fraudulently

induced Kalypsys to sign the Putative MSA. Therefore the Putative MSA is void ab initio.

        17.    The Putative MSA contains a putative arbitration clause. Blue Label also

fraudulently (and specifically) induced Kalypsys to agree to the putative arbitration

clause. Specifically (and without limitation), after having reviewed a draft of the Putative MSA, Dr.

Amr Hosny of Kalypsys spoke with Stewart Skrondal of Blue Label. In that conversation, Dr. Hosny

(among other things) objected to the fact that the putative arbitration clause provided for arbitration

in the State of Washington. Dr. Hosny requested that the putative arbitration clause be changed to

provide for arbitration in New Jersey. Stewart Skrondal of Blue Label responded by telling Dr.

Hosny: “Don’t worry, we’ve never had to use it.” Without limitation, this assurance, coupled with

Blue Label’s statements concerning quality assurance (supra), induced Kalypsys to include the

putative arbitration clause in the Putative MSA that Kalypsys signed. Kalypsys never would have

agreed to include such a putative arbitration clause in the in the Putative MSA that Kalypsys signed

absent such assurances from Blue Label.

              BLUE LABEL FAILED TO DELIVER QUALITY OR SECURITY

        18.    Blue Label provided inadequate quality assurance to the Project, including (without

limitation), intentionally not devoting a QAE to the Project. This became apparent to Kalypsys in

or about August of 2020, when Blue Label intentionally released the software with no quality

assurance testing whatsoever. This resulted in the need for multiple revisions, which both greatly

extended the development time and brought about great cost to Kalypsys.

        19.    In or about August and/or September of 2020, Zach Drew, a partner/owner at Blue

Label, repeatedly approached the partners/owners of Kalypsys (Dr. Hosny and Dr. Chu) seeking to


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acquire an ownership interest in Kalypsys. Specifically, Zach Drew sought to obtain for Blue Label

an equity interest in Kalypsys in exchange for discounting the amount to be paid by Kalypsys. Blue

Label went so far as to tender a “Safe Agreement” to Kalypsys. Meanwhile, Blue Label taking a

significantly longer time to deliver any product to Kalypsys.

        20.    Dr. Hosny and Dr. Chu became suspicious that Blue Label was intentionally slowing

development of the Project in order to financially stress Kalypsys, thereby pressuring Kalypsys into

signing the Safe Agreement. Dr. Hosny and Dr. Chu became suspicious that this had been Blue

Label’s plan all along (including, without limitation, before the signing of the Putative MSA) in not

providing adequate quality assurance or security to Project.

        21.    In or about April of 2021, Blue Label (specifically, and without limitation, Daniel

Deserto and Dulio Denis) admitted to the partners/owners of Kalypsys (Dr. Amr Hosny and Dr.

David Chu) that there had been no QAE (at all, even part-time) on the Project since September of

2020; and could not confirm if there had ever been a dedicated QAE on the Project.

        22.    In or about June of 2021, Daniel Deserto of Blue Label admitted in front of Dr.

Hosny, Dr. Chu and Jordon Guerreri (the CEO of Blue Label) that Blue Label had never had a

dedicated QAE on the Project.

        23.    In or about [month] of 2021, Kalypsys still did not have a working product. In or

about [month] of 2021, Kalypsys separated from Blue Label. Kalypsys never received from Blue

Label a functioning product.

        24.    Blue Label also provided inadequate security to the Project.           Kalypsys has

experienced repeated and costly security problems on the Project. Such problems have (among other

things) made it difficult for Kalypsys to obtain insurance.




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        25.     The original cost estimate for the Project set forth in the Proposal was $195,500.00.

Kalypsys has paid Blue Label in excess of $450,000.00. Kalypsys has incurred significant additional

costs in attempting to get the product to work, in an amount no less than an additional $135,000.00.

                                           COUNT ONE
                                       (Common Law Fraud)

        26.     Kalypsys restates and re-alleges the allegations set forth in paragraphs 1 through

25, supra, as if set forth fully in this paragraph.

        27.     Blue Label materially misrepresented to Kalypsys (in the Proposal, in verbal

communications, and otherwise) that Kalypsys intended to provide adequate quality assurance and

security to the Project, including (without limitation), that Kalypsys intended to dedicate QAE to

the Project. Blue Label intended all along (including, without limitation, before the signing of the

Putative MSA) not to provide adequate quality assurance or security to Project (including, without

limitation, not to dedicate QAE to the Project).

        28.     Blue Label made these material misrepresentations with knowledge of their falsity.

        29.     Blue Label made these material misrepresentations with the intention that Kalypsys

would rely upon them, including (without limitation) the intention to fraudulently induce Kalypsys

to sign the Putative MSA in reliance upon those material misrepresentations.

        30.     Kalypsys did rely upon those material misrepresentations by (without limitation)

signing the Putative MSA and engaging Kalypsys on the Project.

        31.     As a direct and proximate result of the foregoing, Kalypsys has described damages

as set forth herein, in an amount no less than $585,000.00.




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                                           COUNT TWO
             (Violation of the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1 et seq.)

        32.       Kalypsys restates and re-alleges the allegations set forth in paragraphs 1 through

31, supra, as if set forth fully in this paragraph.

        33.       Blue Label offers to the public software development services that are subject to

the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1 et seq.

        34.       Blue Label acted unlawfully, and in violation of the New Jersey Consumer Fraud

Act, by affirmatively misrepresenting to Kalypsys (in the Proposal, in verbal communications, and

otherwise) that Kalypsys intended to provide adequate quality assurance and security to the

Project, including (without limitation), that Kalypsys intended to dedicate QAE to the Project.

        35.       In fact, Blue Label intended all along (including, without limitation, before the

signing of the Putative MSA) not to provide adequate quality assurance and security to the Project

(including, without limitation, not to dedicate QAE to the Project).

        36.       Blue Label’s unlawful conduct in violation of the New Jersey Consumer Fraud Act

(including, without limitation, Blue Label’s statements concerning quality assurance and a

dedicated QAE, as set forth supra), directly and proximately caused Kalypsys to sustain an

ascertainable loss, as described herein, in an amount no less than $585,000.00.

                                          COUNT THREE
                                        (Unjust Enrichment)

        37.       Kalypsys restates and re-alleges the allegations set forth in paragraphs 1 through

36, supra, as if set forth fully in this paragraph.

        38.       Kalypsys has paid Blue Label in excess of $450,000.00 on the Project, yet Kalypsys

never received from Blue Label a functioning product.




                                                      7

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        39.   Blue Label has knowingly received the benefit of payment from Kalypsys in excess

of $450,000.00 Kalypsys reasonably expected that Blue Label would deliver to Kalypsys a

functioning product, but Kalypsys never received from Blue Label a functioning product.

        40.   In light of the foregoing, Blue Label’s retention of the benefit of payment from

Kalypsys in excess of $450,000.00 inequitable.

        41.   Blue Label has been unjustly enriched by its retention of payment from Kalypsys

in excess of $450,000.00. Blue Label’s failure to deliver a functioning product to Kalypsys has

therefore unjustly enriched Blue Label.

                                   PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff, KALYPSYS, LLC, hereby, prays respectfully that this

Honorable Court grant to Kalypsys the following relief:

        A.    A declaratory judgment declaring that the Putative MSA is void ab initio;

        B.    Judgment in favor of Kalypsys, and against the Defendant, BLUE LABEL

              SOLUTIONS, LLC, as to each Count asserted herein;

        C.    An award of compensatory damages in favor of Kalypsys in an amount no less than

              $585,000.00; and a further trebling of such damages, plus attorneys’ fees, under

              the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1 et seq.;

        D.    An award granting to Kalypsys all attorneys’ fees, costs, and expenses in this action

              allowable under applicable law;

        E.    All other relief permitted under applicable law; and

        F.    All other relief that this Honorable Court may deem just and proper.




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Dated: February 1, 2022

                                      WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP

                                      By: /s/ Thomas A. Gentile
                                          THOMAS A. GENTILE (TG-6939)

                                      An Attorney Admitted to Practice before this Honorable Court

                                      200 Campus Drive, Fourth Floor
                                      Florham Park, New Jersey 07932
                                      Phone: (973) 735-5785
                                      Fax: (973) 624-0808

                                      Attorneys for Plaintiff, Kalypsys LLC




                                      JURY DEMAND

        Pursuant to Rule 38(b)(1) of the Federal Rules of Civil Procedure, Plaintiff KALYPSYS,

LLC, hereby demands a TRIAL BY JURY of all counts that may be so tried.


Dated: February 1, 2022

                                    WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP

                                    By:    /s/ Thomas A. Gentile
                                           THOMAS A. GENTILE (TG-6939)




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          EXHIBIT A
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12/20/19


              Service Estimate
1




              for Kalypsys
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2
       At Blue Label Labs,
       we partner with the
       best entrepreneurs
       and businesses to
       solve everyday
       problems through a
       creative and
       conscientious use of
       technology.
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3


       The Blue Label Labs
       Promise
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4      At Blue Label Labs, we understand that the decision to
       build a new product, and the team you choose to build it
       with, is a crucial, and even scary decision.


       That’s why we give you our promise: to do our very best
       and to always strive to do the right thing for your product,
       your users and your team.


       We want you to think of us as your partners in this
       journey. So ask us anything!
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5


       Doing Your Part,
       to Make it All
       Work.
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6
       1. Be Nice.                                                                  2. Challenge Us.
       The best professionals love what they do. At                                 We love to be challenged! Please share
       Blue Label Labs we aim to create an                                          your vision with us, and hold us to a high
       enjoyable workspace so that we can recruit                                   creative and technical standard. Come to us
       and keep the very best. Working only with                                    with problems, so we can solve them
       nice clients is part of that!                                                together.



       3. Learn from Us.                                                            4. Decide Promptly.
       An average Blue Label Labs team has built                                    In the world of software, we’ve learned it’s
       and launched dozens of great products.                                       often better to make the wrong decision than
       We’ve seen many successes and some                                           to make no decision at all. Wrong decisions
       failures. We’re happy to share our                                           can usually be corrected more easily than
       experience!                                                                  starting from scratch!



       5. Seek Feedback Early.
       Blue Label Labs uses Lean Design principles
       alongside Agile Development methodologies.
       This means we’ll be seeking user feedback
       early, often, and for the life of the project.
       Please help us obtain and address user
       feedback to increase your likelihood of
       success.
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7


       How We Work
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                                                           1           Scoping & Contracting



                                                       Our Client Solutions Team
                                                       works with you to scope
                                                       your product and produce
                                                       estimates and contracts.
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                                                            2            Design Sprint



                                                        Inspired by the now-famous,
                                                        Google Ventures methodology,
                                                        some engagements start with
                                                        an intense, 5-full day discovery
                                                        process that ends with
                                                        empirical validation with real (or
                                                        potential) clients.

                                                        Note: Not included in this estimate
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                                                                        Strategy & User Experience
                                                            3
                                                                        Design

                                                        Using the insights from the
                                                        Design Sprint or our
                                                        discovery process, our UX
                                                        Design Team fleshes out the
                                                        user journeys, and starts to
                                                        design a clear, seamless &
                                                        delightful experience.
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                                                        Building a User Story Map

                                                       Building a User Story map will help us
                                                       identify the ideal human-centered
                                                       approach and best feature set to give
                                                       your users the most value at launch.


                                                       Competitive Analysis
                                                       Develop user personas
                                                       Analyze and document user tasks
                                                       Add and organize user stories
                                                       Determine core flows to test
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12
        Lean Design Sprints
        Blue Label Labs uses Lean Design methodologies, which
        prioritize rapid learning and a focus on testing core assumption
        quickly via the creation of an MVP: a Minimal Viable Product.




                               Emotional                                             Emotional
                                Design                                                Design


                                 Usable                                               Usable



                                Reliable                                              Reliable



                               Functional                                            Functional
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                                                            4          Visual Design & Branding


                                                        Our Visual Design Team
                                                        works to create an elegant,
                                                        user-centric design system &
                                                        brand identity that
                                                        incorporates the latest trends
                                                        and is focused on connecting
                                                        with your customer.
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                                                            5           User Testing



                                                        Our team uses interviews, field
                                                        surveys and other methods to
                                                        get feedback and iterate on the
                                                        designs before moving into
                                                        development.
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                                                        Prototypes & User Interviews
                                                       We conduct multiple rounds of user
                                                       interviews. Using Invision prototypes to
                                                       validate assumptions, flows, and
                                                       usability with our UX Researchers.


                                                       Lo-Fi prototype + user interviews
                                                       Build a visual design language
                                                       Hi-Fi prototype + user interviews
                                                       Qualitative usability testing
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                                                            6           Development & Testing


                                                        Agility is the name of the
                                                        game. Our Scrum-based
                                                        Agile Methodology ensures
                                                        frequent product releases to
                                                        users and allows for
                                                        continuous testing and
                                                        product adjustments.
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17
        Agile Methodology
        Blue Label Labs uses Scrum*, the software industry’s ruling Agile Development methodology,
        to ensure timely delivery and continuous learning via frequent software builds and constant
        feedback.

        This means that development is broken into 2 to 3-week sprints, with each sprint producing a
        new software build that is tested and potentially shippable (i.e., in working order and internally
        consistent).

        This gives you the change to test, learn, get feedback, and influence the roadmap throughout
        the development effort, and not just at the end.




        * You can learn more about Scrum here: https://www.scrum.org/resources/what-is-scrum
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18
        Testing & QA
        Blue Label Labs engages in continual testing of your app
        throughout the development process.* Our dedicated test team
        will devise a test plan and provide:



        Module Testing                                                               Unit Testing


        Regression Testing                                                           Web Server Integration
                                                                                     Testing

        Security Testing
                                                                                     Performance and Load
                                                                                     Testing
        Bug Fixing

        * Test builds are distributed by TestFlight (for iOS), Android App Installer (for Android), and staging servers for the web
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                                                            7          Deployment & Launch



                                                        Getting an app live on the
                                                        web or in an app store can be
                                                        a tricky process. We help
                                                        every step of the way to get
                                                        your product in market and
                                                        execute a launch strategy--so
                                                        that you can start monetizing.
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                                                            8          Tracking & Analytics


                                                        Updates are essential to an
                                                        app’s success. Using both
                                                        qualitative and quantitative
                                                        tracking tools, we help you to
                                                        identify opportunities to
                                                        improve the app based on
                                                        user feedback and data.

                                                        Note: Not included in this estimate
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                                                            9          Marketing & Growth Strategy


                                                        No app launch plan is
                                                        complete without proper
                                                        marketing, PR and user
                                                        engagement tools to aid in
                                                        discovery and to retain users.
                                                        We help plan and execute on
                                                        a growth strategy.

                                                        Note: Not included in this estimate
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                                                           10          Continuous Improvement


                                                        Only those apps that take in
                                                        user feedback and track user
                                                        behavior are successful.
                                                        Launch day is when the real
                                                        work begins. But don’t worry,
                                                        we’re here to support you for
                                                        the long-term.

                                                        Note: Not included in this estimate
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23


        The Project
        Goals
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24
              Kalypsys has the following
              stated goals:
     •   Build a convenient and comprehensive resource for patients to efficiently find
         credentials, online reviews, and real time availability of local medical
         providers.


     •   Provide a targeted referral source for practitioners with patients that are
         appropriately triaged, resulting in a reduction of unnecessary appointments
         and improve both patient and provider satisfaction.


     •   Create a cost effective platform for individual doctors to create relevant
         medical content that directly translates into referrals


     •   Build an educational resource for patients regarding all things medical:
         insurance benefits and policies, traditional vs alternative medicine, health and
         wellness.


     •   We’ve collected the user stories for the design and development of Kalypsys
         here: http://bit.ly/357MEIi
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25
        Target Platforms, Operating
        Systems & Technology



        Web:                                        Modern Browsers                  Wordpress
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26
        Supported Devices
                                                    The three latest versions of:




        Browsers                                    Mozilla Firefox · Google Chrome ·
                                                    Internet Explorer · Safari
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27
        Web Services
        Blue Label Labs will design and develop your web services
        architecture (i.e., servers, storage and back-end code) in a way
        that is extensible for the future. We do not believe in building on
        a foundation of sand or on architecture that will have to be
        thrown away completely in the future.




        Servers, Storage & Back-End Code
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28
                  User Accounts                                                                Scheduling
                  Permission based user accounts for                                           Users can book appointments using block
                  authentication, data storage and functionality.                              scheduling, tied to a calendaring solution
                                                                                               (such as Google Cal)




                  Search                                                                       Messaging
                  Users can search for doctors using algorithm                                 Users receive email notifications of
                  filtering to determine the right doctor for the                              appointments and changes to their
                  condition of the user                                                        appointments




                  Ratings
Web Services


                  Users can rate doctors, and doctors can rate
                  users. Where needed, ratings are hidden to
                  remove bias.
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29


         Costs
         Phase 1
         Discovery & Product
         Planning
         Phase 2
          Design & Development
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30
     Discovery & Product Planning - Sprint Cost
     Discovery & Product Planning is when the foundations of the app are determined and tested. An iterative
     approach allow for frequent feedback cycles—resulting in the best possible product for your users. Not ALL
     designs are completed in this phase. The goal is to get the core flow and core value propositions designed
     and ready for development as quickly as possible. More design work continues in the next phase.




           Sr. Project Manager                                                    20 Hours / $175 per hour




           Sr. User Experience Designer                                           40 Hours / $221 per hour




           Sr. User Interface Designer                                            40 Hours / $221 per hour




             Total                                                                100 Hours / Month




                     Total — $21,000 per Month
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     Design & Development - Sprint Cost
     Design & Development starts as soon as our team, your team and (most importantly) your future
     users determine that enough of the design assets are ready to move to this phase. We break the
     development effort into Epics (i.e., groups of user stories that comprise a core flow or set of
     functionality). Development ends when we release the app into the wilds of the web or app store.

            Sr. Project Manager                                                    8 Hours / $175 per hour


            Jr. Project Manager                                                    40 Hours / $125 per hour


            Sr. User Experience Designer                                           20 Hours / $221 per hour


            Jr. User Interface Designer                                            40 Hours / $176 per hour


            Engineering Lead                                                       20 Hours / $221 per hour


            Web Developer (2X)                                                     320 Hours / $54 per hour


            Quality Assurance Staffer                                              160 Hours / $32 per hour


              Total                                                                608 Hours / Month




                           Total — $43,625 per Month
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        Discovery & Product Planning Estimate
        An estimated 1 month at $21,000 per month

                                                             +

        Design & Development Estimate
        An estimated 4 months at $43,625 per month




       Total — $195,500
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        Costs Not in this Estimate

                    Apple Developer                                                  Google Developer
                    registration                                                     registration
                    $99 / year                                                       $25 / year



                    GitHub Private                                                   Domain name
                    Code Repository                                                  registration
                    $7 / month                                                       $20 / year



                    Amazon AWS Cloud                                                 Stock Photography /
                    Hosting or Similar                                               Artwork / Imagery
                    Roughly $100-$200 / month                                        Several $s per Image




        Any costs related to 3rd party services not covered by this estimate
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        Next Steps
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Leadership & Sales Teams

                                                                                                                      Danny Deserto                Terri Lavelle
                           Bobby Gill                                   Jordan Gurrieri
                                                                                                                      Creative Director            Head of Program Management
                           Co-Founder & CTO                             Co-Founder & COO




                           Zack Drew                                  Stewart Skrondal                                Ashkan Eskandari             Bruce Morrison
                           Head of Client Solutions                   Director, Client Solutions                      Director, Client Solutions   Director, Technical Client Solutions
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        Why Blue Label?
        At Blue Label Labs, we partner with the best entrepreneurs and businesses to solve
        everyday problems through a creative and conscientious use of technology.



        Trusted by




        Awards we’ve won




        News Media Mentions
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        Testimonials


         Offering thorough                                 Blue Label's team               In addition to delivering
         education and engaged                             designed an                     a top-notch product,
         collaboration, Blue                               exceptional app that            Blue Label Labs is very
         Label Labs worked as                              has increased usage             proactive and
         a committed partner,                              eightfold. In the first         organized when it
         invested in project                               week of its launch, the         comes to managing
         success. They’re                                  app ranked No. 2 for            projects. Outside of
         invested in their work                            news apps in iTunes.            software development,
         with clients, beyond                                                              they've provided
         just a paycheck.                                  Ashlin Ocampo                   invaluable business
                                                           Product Manager @ iHeartRadio
                                                                                           development support–a
         Mike Gayed                                                                        welcomed surprise
         Founder & CEO @ HowUdish
                                                                                           from a vendor in their
                                                                                           industry.

                                                                                           Jeff Lyman
                                                                                           Founder & CEO @ Tonquin
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        Let’s get started!
        Please provide the following information so we can
        draft our formal agreement:



        1. Your Legal Company Name

        2. Your Legal Company Address
               Legal Company Name                             Type of Company (e.g., LLC or C-Corp…)

               Legal Company Address                          State of Incorporation




        3. Review Agreements

        4. Sign Agreement & Pay Deposit

        5. Kick-Off Meeting with Your New Team!
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        Relevant
        Case Studies
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                                                                                                                              Case
                                                                                                                              Study

Disrupting the Prescription
Drug Market
100-year old, NJ-based pharmaceutical company, G&W
Laboratories knows a lot about prescription drug prices.


They wanted to put that knowledge to good use and came
to Blue Label Labs to help them create a web app and a
set of mobile apps to help individuals (plan participants)
and companies (plan sponsors) save money.


By cutting out the middleman between plan sponsors and
health insurance plans, Flipt is a platform that lowers costs
by promoting price transparency and consumer choice
while better aligning interests throughout the healthcare
system.
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                                                                                                                            Case
                                                                                                                            Study

Improving the lives of
those with lymphedema
Blue Label Labs was approached by two Ph.D./M.D.s who wanted support
in designing a better way to measure and track lymphedema in patients.
Lymphedema is a swelling of the limbs that is mainly a result of certain
cancer therapies.


The set of apps we created provides fast, accurate, and reliable 3D
imaging and measurement to monitor the progression of these geometric
changes of limbs. LymphaTech’s system is 99% accurate compared to
water displacement for volume and tape measure for circumference.


No special training is required to scan. We developed this technology to
provide easy scanning at home to increase the frequency of monitoring.
                                             Case 2:22-cv-00510-SDW-LDW Document 1 Filed 02/01/22 Page 52 of 66 PageID: 52




                                                                                                                             Case
                                                                                                                             Study

On-demand home healthcare
partnering with leading providers
FriendHealth deploys multidisciplinary care teams to bring on-
demand, in-home care to people that need it the most. Blue Label
Labs lead the design and development of this set of web and mobile
apps.


FriendHealth serves clinically complex populations with multiple
chronic conditions by providing a differentiated level of access and
care. The care teams are available 24/7/365 in-person and virtually.


FriendHealth works on behalf of leading health plans, health systems,
and physician organizations to extend care delivery to the home and
drive improved access to and quality of care, patient experience, and
medical expense savings.
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                                                                                                                               Case
                                                                                                                               Study
            Love My Heart

Keeping Women’s hearts healthy
one app at a time
Heart disease is the number one killer of women. One woman dies every
minute of heart disease in the US. That’s 2-3x more than die of breast cancer
and more deaths than caused by all cancers combined. Still women continue
to be under diagnosed and under treated and the number of young women
dying of heart disease is on the rise.


Enter Love My Heart, an app just for women that recognizes that women’s
hearts are unique and that women have different risks for heart disease than
men.


Blue Label Labs developed this app alongside a set of cardiologists who
specialize in women’s cardiovascular disease at Columbia University Medical
Center.


It was featured by Apple as a “Top Healthcare App” in 2018.
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          EXHIBIT B
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                                             MASTER SERVICES AGREEMENT

            This Master Services Agreement (the “Agreement”) is made and entered into as of the 21st
            day of January, 2020 (the “Effective Date”), by and between Blue Label Solutions, LLC, a
            Washington Limited Liability Company, d.b.a. Blue Label Labs (“Developer”), and Kalypsys,
            LLC a New Jersey Limited Liability Company, with corporate address at 12 Cobblestone Drive,
            Upper Saddle River, NJ, 07458 (the “Customer”), (Developer and Customer hereinafter
            referred to individually as a “Party” or collectively as “Parties”).



                                                             AGREEMENT

                    1. Scope of Services. Developer shall perform the services (the “Services”)
                       described in the attached Statement(s) of Work (each, a “SOW”) to design and/or
                       develop one or more custom software applications (the “Software”). SOW No. 1,
                       dated as of the Effective Date, and any subsequent SOWs, are attached hereto as
                       Schedule A. Customer shall cooperate with Developer’s reasonable requests for
                       any information and data necessary for the completion of the Software. Customer
                       understands and acknowledges that completion of the Software may be dependent
                       upon Customer’s provision of certain information, data, specifications, or content and
                       that any delay in the provision of such information may delay the completion of the
                       Software. Customer further understands and acknowledges that Developer may
                       contract with third parties to assist in performance of the Services.

                    2. Modifications. Modifications to the Software specifications shall be considered on a
                       case-by-case basis. If Customer desires any modifications, additions, changes or
                       updates to the Software that fall outside the scope of the specifications set forth in
                       the SOW, Customer shall notify Developer in writing (including email). Developer
                       shall then inform Customer of any changes to the fees and deliverables timelines the
                       modifications would require. If Customer agrees in writing to the new terms
                       Developer quotes, the writing shall be attached to this Agreement and its terms shall
                       be incorporated into this Agreement. If Customer does not wish to accept the new
                       terms, Customer shall notify Developer of the rejection as soon as possible and
                       Developer will continue performance of the Services as originally agreed.

                    3. Artwork and Content. Unless otherwise agreed in the SOW, Customer agrees to
                       acquire and provide to Developer all images, logos, and textual descriptions for use
                       in the Software (the “Content”). By delivering the content to Developer, Customer is
                       warranting and representing that Customer has the lawful right to utilize the Content
                       in the Software. Developer may, at Customer’s request, provide assistance in
                       acquiring or developing the Content.




                                                                 1
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                    4. Price and Payment Terms.
                           a. Fees. The fees for the Services and the due dates are set forth in the
                              relevant SOW. Each fee installment constitutes a pre-payment for the
                              Services to be provided in the following month.

                             b. Invoices. Developer shall deliver an invoice (“Invoice”) to Customer on a
                                monthly basis. Each Invoice shall contain the amount due for the upcoming
                                period, including any service fees which may have been charged pursuant to
                                Section 4(0), herein. Invoices shall be due and payable fifteen (15) days after
                                issuance.

                             c. Initial Installment. Developer will not begin performance of the Services until
                                the relevant initial fee installment has been received.

                             d. Late Payments. Any Invoices which are unpaid after their due date will be
                                deemed a “Unpaid Invoice” and subject to a one and one-half percent
                                (1.5%) service charge per month, or the maximum amount allowed by law,
                                whichever is lower. If Customer does not remit payment including any and all
                                late fees owed within thirty (30) days from the date it became due, Developer
                                shall have the right to terminate this Agreement in accordance with Section 5.

                             e. Development Conditioned on Timely Payment. Performance of the Services
                                is conditioned upon timely receipt of payments and in the event of an Unpaid
                                Invoice Developer may, in its sole discretion, stop performance of the
                                Services until all Invoices are paid in full. Furthermore, Developer may cease
                                provision of the Services if an Invoice is unpaid on the first day of the month
                                following the date of the Invoice.



                    5. Termination.
                          a. Termination by Customer. Customer may terminate this Agreement at any
                             time upon written notice to Developer, which termination notice must have an
                             effective date not less than five (5) business days from the date of the notice.

                             b. Termination by Developer. Developer may terminate the Agreement only for
                                Cause (as defined herein). The following events shall constitute “Cause”:

                                      i. Failure by Customer to remit any payment owed Developer within
                                         thirty (30) days from the date such payment became due; or
                                     ii. Any other material breach of this Agreement by Customer.




                                                              2
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                             c. Effect on Invoices. Upon the effective date of a termination notice from
                                Customer, or along with Developer’s termination notice to Customer,
                                Developer shall immediately cease all provision of the Services. Any unpaid
                                Invoices must be paid in full, but no further Invoices will be issued and
                                Customer shall not be responsible for any fee installments due after the
                                effective date of the termination notice. Customer will not be entitled to a
                                refund of any fees already paid.

                             d. Ownership of Software upon Termination. Upon the effective date of a
                                termination notice and Customer’s payment in full of all outstanding Invoices,
                                title and interest in and to the incomplete Software as it then exists excepting
                                any portions which are Background Technology (as defined herein) (the
                                “Incomplete Software”), all throughout the universe for the full period of
                                such rights including all renewals and extensions thereof, including all
                                patents, copyrights, trade secrets, other proprietary rights and all rights of
                                exploitation, shall be automatically assigned and transferred to Customer. If
                                to any extent any of the aforesaid rights, title or interests are vested in
                                Developer, Developer hereby irrevocably agrees that such rights, title or
                                interests shall be immediately assigned by Developer to Customer on the
                                terms set forth above. Upon the effective date of a termination notice and
                                Customer’s payment in full of all outstanding Invoices, Developer hereby
                                grants to Customer for no further consideration an irrevocable, non-exclusive,
                                perpetual, transferable (and assignable without consent), sub-licensable (to
                                any tier), worldwide, fully paid-up royalty-free license to use, reproduce,
                                adapt, exploit in any way (as part of the Incomplete Software and any
                                derivative thereof) and create (and own) adaptations and/or derivative works
                                of the Background Technology as it is incorporated into Incomplete Software
                                (and any derivative thereof), and all updates and revisions thereto, including
                                for the purposes of completing the Software with a third party.

                             e. Survival. Sections 7, 8, 9, 11, and 12 of this Agreement shall survive
                                termination of this Agreement by either Party, and shall survive termination by
                                any other means than election by either Party, including termination by court
                                order.

                    6. Developer Licenses. Customer agrees to use commercially reasonable efforts to
                       acquire a developer license for the platform of choice as agreed upon by the Parties
                       (the “Developer License”). If the Developer License is granted, Developer shall,
                       upon receipt of final payment, submit the Software for publication on Customer’s
                       behalf. If Customer is not granted the Developer License for within sixty (60) days
                       from Completion (as defined in the SOW), then, provided that Customer has fully
                       paid all invoices, Developer shall deliver the Software to Customer for Customer’s



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                         own publication, and Developer shall have no further obligations with regard to
                         publication. Customer acknowledges that once the Software is submitted for
                         publication, the platform will then determine whether to publish the Software.
                         Developer makes no guarantees that Software submitted for publication will be
                         published.

                    7. Ownership of Software. Development of the Software is for the benefit of
                       Customer and upon Completion and full payment, Customer shall solely own all
                       rights, title and interest in and to the Software as a whole, excepting the Background
                       Technology (as that term is defined herein), all throughout the universe for the full
                       period of such rights including all renewals and extensions thereof, including all
                       patents, copyrights, trade secrets, other proprietary rights and all rights of
                       exploitation. If to any extent any of the aforesaid rights, title or interests are vested in
                       Developer, Developer hereby irrevocably agrees that such rights, title or interests
                       shall be immediately and automatically assigned by Developer to Customer on the
                       terms set forth above.

                    8. Ownership of Background Technology. Developer owns and/or holds rights to
                       certain tools it uses in development, and that it shall retain ownership in after
                       Completion, but will allow Customer to use it as a part of the Software. This material
                       shall be referred to as “Background Technology”, and includes various preexisting
                       common methods, application program interfaces, development tools, routines,
                       subroutines and other programs, data and materials that Developer may include in
                       the Software.

                         Developer retains all right, title and interest, including all copyright, patent rights and
                         trade secret rights in the Background Technology. Subject to full payment in
                         accordance with Section 4, Developer grants to Customer an irrevocable,
                         nonexclusive, perpetual worldwide, transferable (and assignable without consent),
                         fully paid-up royalty-free license to use, reproduce, adapt, exploit in any way (as part
                         of the Software and any derivative thereof) and create (and own) adaptations and/or
                         derivative works of the Background Technology as it is incorporated into the
                         Software developed for and delivered to Customer under this Agreement (and any
                         derivative thereof), and all updates and revisions thereto. However, Customer shall
                         make no other use of the Background Technology without Developer’s written
                         consent, and shall make no use of the Background Technology in any context other
                         than as it is incorporated into the Software as delivered to Customer without
                         Developer’s written consent, which consent shall not be unreasonably withheld.

                    9. Portfolio Rights. Customer hereby agrees to allow Developer to feature the final
                       Software, including screen shots, Customer’s name, name of the Software,
                       description of the Software, and a link to enable purchase of the Software if



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                         applicable, as part of the Developer’s portfolio of work and for Developer’s
                         commercial and promotional purposes. Customer may opt-out of this provision at
                         any time by providing written notice to Developer requesting that the Software no
                         longer be used for Developer’s promotional purposes.

                    10. Developer Warranties and Disclaimer. Developer warrants that:

                             a. The Services and the Software do not infringe upon any rights including any
                                and all patent, copyright, trademark, trade secret, or other form of Intellectual
                                Property rights; and
                             b. The Services will be performed in a professional and workmanlike manner.

                             THESE WARRANTIES ARE EXCLUSIVE AND IN LIEU OF ALL OTHER
                             WARRANTIES, WHETHER EXPRESS OR IMPLIED, INCLUDING ANY
                             WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR
                             PURPOSE AND ANY ORAL OR WRITTEN REPRESENTATIONS,
                             PROPOSALS OR STATEMENTS MADE ON OR PRIOR TO THE EFFECTIVE
                             DATE OF THIS AGREEMENT. DEVELOPER EXPRESSLY DISCLAIMS ALL
                             OTHER WARRANTIES.

                    11. Indemnification. The Parties hereby indemnify and holds harmless each other,
                        each other’s affiliates, employees, officers, directors, and agents from and against all
                        liability, damages, loss, cost or expense (including but not limited to reasonable
                        attorneys’ fees and expenses) arising out of or in connection with any actual or
                        threatened claim, suit, action, or proceeding relating to any breach by Customer of its
                        warranties hereunder including but not limited to claims relating to Content. Without
                        limiting the forgoing, Customer specifically indemnifies and shall defend and hold
                        harmless Developer, its affiliates, employees, officers, directors, and agents from
                        and against all liability, damages, loss, cost or expense (including but not limited to
                        reasonable attorneys’ fees and expenses) arising out of or in connection with any
                        actual or threatened claim, suit, action or proceeding relating to the ownership in or
                        the use or exploitation of the Content by Developer, including, but not limited to, any
                        claim relating to the violation of any third party’s trademark, copyright, patent, trade
                        secret or other proprietary or personal rights in connection with the Content.

                    12. Confidential Information. Neither party shall knowingly disclose confidential nor
                        proprietary information obtained from the other during the performance of this
                        Agreement. This includes, but is not limited to, customer lists, Customer-owned
                        software or other technology, business plans, and information which a reasonable
                        person would believe to be confidential. Each Party shall use at least the same
                        degree (but no less than a reasonable degree) of care and protection, whether by
                        instruction, agreement or otherwise, to prevent the unauthorized use, dissemination,
                        copying or publication of any confidential information of the other Party as it uses to


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                         protect its own information of a like nature. Any material violation of this section
                         entitles the injured party to seek injunctive relief to prevent irreparable harm. Each
                         party shall return or destroy (at the owner’s option), each other’s confidential or
                         proprietary information upon substantial performance under this Agreement.

                    13. Non-Solicitation. Developer’s personnel are a valuable asset and are difficult to
                        replace. Customer agrees that, during the term of this Agreement and for a period of
                        one (1) year after its termination, Customer will not solicit, without the prior written
                        consent of Developer, i) encourage, or induce any employee of Developer to leave
                        his or her employment, or ii) offer employment or engagement (as an employee,
                        independent contractor, or consultant) to any of Developer’s employees. General
                        advertisements not specifically directed at Developer’s employees, or an offering
                        employment to an employee responding to the same, shall not be prohibited by this
                        Section 13.

                    14. Miscellaneous Provisions.

                             a. Mediation, Arbitration. If a dispute arises under this Agreement, the Parties
                                agree to first try to resolve the dispute with the help of a mutually agreed-
                                upon mediator located in New York, New York. Any costs and fees other
                                than attorney fees associated with the mediation shall be shared equally
                                between the parties.

                                 If it proves impossible to arrive at a mutually satisfactory solution through
                                 mediation, the Parties agree to submit the dispute to binding arbitration in
                                 King County, Washington under the rules of the American Arbitration
                                 Association. Judgment upon the award rendered by the arbitrator may be
                                 entered in any court with jurisdiction to do so. On the written request of either
                                 Party for arbitration of such a claim pursuant to this paragraph, the Parties
                                 shall both be deemed to have waived the right to litigate the claim in any
                                 federal or state court. To the extent that any claim or controversy arising out
                                 of this Agreement cannot be submitted to arbitration as set forth above, each
                                 Party hereby agrees that any suit, action or proceeding with respect to this
                                 Agreement and any transactions relating hereto, shall be brought in King
                                 County, Washington, and each of the Parties hereby irrevocably consents
                                 and submits to the jurisdiction of such Court(s) for the purpose of any such
                                 suit, action or proceeding. Each of the Parties hereby waives and agrees not
                                 to assert, by way of motion, as a defense or otherwise, in any such suit,
                                 action or proceeding, any claim that it (he) is not personally subject to the
                                 jurisdiction of such Court; and, to the extent permitted by applicable law, any
                                 claim that such suit, action or proceeding is brought in an inconvenient forum
                                 or that the venue of such suit, action or proceeding is improper or that this



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                                  Agreement or any replacements hereof may not be enforced by such
                                  Court(s).

                             b. Choice of Law. This Agreement and its application shall be governed by the
                                laws of the State of Washington.

                             c. Notices. Whenever in this Agreement one Party is required to give notice to
                                the other Party, such notice may be given personally, by first class mail
                                registered or certified, postage prepaid, or by electronic means including
                                facsimile or electronic-mail (e-mail). Electronic communications shall be
                                considered “written” for purposes of this Agreement.

                             d. Severability. If any provision of this Agreement should be held to be invalid
                                or unenforceable, then such invalidity or unenforceability shall not affect the
                                other provisions of this Agreement which shall remain in full force and effect
                                and shall not be in any way affected or impaired. The Parties agree to
                                attempt to substitute for any invalid or unenforceable provision a valid or
                                enforceable provision which achieves to the greatest extent possible the
                                same effect as would have been achieved by the invalid or unenforceable
                                provision.

                             e. Waiver. No failure or delay on the part of any of the Parties relating to the
                                exercise of any right, power, privilege, or remedy provided under this
                                Agreement shall operate as a waiver of such right, power, privilege, or
                                remedy or as a waiver of any preceding or succeeding breach by the other
                                Party, nor shall any single or partial exercise of any right, power, privilege or
                                remedy preclude any other or further exercise of such or any other right,
                                power, privilege or remedy provided in this Agreement, all of which are
                                several and cumulative and are not exclusive of each other or of any other
                                rights or remedies otherwise available to a Party at law or in equity. No
                                waiver shall be valid unless in writing and signed by both Parties or their duly
                                authorized representatives.

                             f.   Force Majeure: Except with regard to payment obligations, either Party shall
                                  be excused from delays in performing or from failing to perform its obligations
                                  under this Agreement to the extent that the delays or failures result from
                                  causes beyond the reasonable control of the Party, including, but not limited
                                  to: default of subcontractors or suppliers; failures or default of third party
                                  software, vendors, or products; governmental actions after the Effective Date;
                                  strikes; terrorism or the threat of terrorism; communications, network/internet
                                  connection, or utility interruption or failure; fire; flood; epidemic; or acts of God
                                  or of the public enemy.



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                             g. Entire Agreement. This Agreement constitutes the entire agreement and
                                understanding of the Parties and supersedes all prior oral or written
                                agreements, understandings or arrangements between them relating to the
                                subject matter of this Agreement. No variation to this Agreement may be
                                made except in writing signed by duly authorized representatives of both
                                Parties.

                             h. Relationship. Nothing contained in this Agreement shall constitute or imply
                                a partnership, joint venture, agency, or fiduciary relationship between the
                                Parties.

                             i.   Counterparts. This Agreement may be signed in any number of
                                  counterparts, all of which taken together shall constitute one and the same
                                  instrument. Any Party may enter into this Agreement by signing any such
                                  counterpart and each counterpart shall be as valid and effectual as if
                                  executed as an original.



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            IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the date first
            written above.




            BLUE LABEL SOLUTIONS, LLC




            ______________________________________



            By: Jordan Gurrieri

            Its: Manager




             KALYPSYS, LLC




             _______________________________________

                   David Chu                    Amr Hosny
             By:

             Its: Co Founder                    Founder




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                                                             Schedule A

                                                  Statement of Work No. 1

            Blue Label Labs (“Developer”) and Kalypsys, LLC entered into a certain Master Service
            Agreement (“MSA”) on or about 01/14/2020, to which this Statement of Work (“SOW”) is
            attached. Any undefined capitalized terms used herein shall have the meanings set forth in the
            MSA.

            This SOW sets forth the functional specifications and other information relating to the Software
            which Developer will develop and create for Customer.

            SECTION 1: FEE INSTALLMENTS

           i.   Discovery & Product Planning
                   1. Installment 1: $21,000 due 02/03/2020. Must be received before work will begin.


          ii.   Design & Development
                   2. Installment 2: $43,625 due 03/03/2020.
                   3. Installment 3: $43,625 due 04/03/2020.
                   4. Installment 4: $43,625 due 05/03/2020.
                   5. Installment 5: $43,625 due 06/03/2020.


            Estimated Total Cost: $195,500

            Please note that above Installments and Estimated Total Cost are subject to change should the
            scope of work change. In that event, we will provide you with an updated Fee Installment
            schedule for your approval.

            SECTION 2: DELIVERABLES

            The Developer agrees to produce and complete for the Customer the following components as
            part of this Statement of Work:

           i.   Estimated Timeline: 5 months

          ii.   Design & Development of User Stories denoted “V1” within Column D:
                      • http://bit.ly/357MEIi

         iii.   Completion. As used in this SOW, “Completion” means the date that the software
                application is submitted to Web Deployment Staging. Upon Completion the software
                application will be ready for submission to Web Deployment Production for publication.




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            Any dates for deliverables contained herein are estimates and may vary. Completion of the
            Software may be dependent, in part or in whole, upon Customer’s provision of certain
            information, data, specifications, or content and that any delay in the provision of such
            information may delay the completion of the Software.



            Signed and Agreed to by:



            BLUE LABEL SOLUTIONS, LLC




            ______________________________________



            By: Jordan Gurrieri



            Its: Manager




            KALYPSYS, LLC




            _______________________________________



                  David Chu                   Amr Hosny
            By:



            Its: Co Founder                    Founder




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                                                             Schedule B

                                                  Background Technology



            1. User login and authentication (Email/Facebook/LinkedIn/Instagram)
            2. Password reset
            3. Mandrill/SendGrid Email Notifications
            4. Apple/Google push notification integration
            5. Braintree/Stripe/PayPal marketplace payment integration
            6. Amazon S3 file upload/download
            7. Developer provided object ranking, sorting and prioritizing algorithms
            8. Google Places/Google Maps and Apple Maps location services
            9. Booker appointment scheduling integration
            10. Clover POS integration
            11. Amadeus flight details, booking and tracking integration




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